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                                                                               By E-Mail and Mail

January 12, 2005                                                                      Lewis Kruger
                                                                       Direct Dial 212-806-5430
                                                                       Direct Fax 212-806-6006
                                                                            LKrge~troock,com
Janet S. Baer, Esq.
Kirkland & Ells LLP
200 East Randolph Drive
Chicago, IL 60601

Re: W. R. Grace & Co.. et at

Dear Jan:

This letter confirms that in connection with the agreement of the Offcial Conittee of
Unsecured Creditors (the "Creditors' Comnúttee") to be a Plan Proponent with the
Debtors and the Equity Committee of the Amended Joint Plan of    Reorganization to be
fied with the Bankmptcy Court on or about January 13, 2005 as such Plan may be
amended from time to time with the consent of the Creditors' Comnùttee (the "Joint
Plan"), the Debtors and the Creditors' Committee agree that the Creditors' Comnùttee
has the right to withdraw as a Plan Proponent of the Joint Plan on the occurrence of
any of the following circumstances:


1. Failure of the Court to approve the Disclosure Statement incorporatig the Joint
     Plan no later ilan November 30, 2005;

2. Determation by the Court (Bankrptcy or Distrct) that the Joint Plan is not
     confiable and the faiure to file an amended Joint Plan within 60 days;

3. Determination by the Court (Bankruptcy or Distrct) that the Debtors are insolvent;

4. Ternnation of         the Debtorst exclusive period;

5. Withdrawal of the Joint Plan by the Plan Proponents and the failure of the Plan
   Proponents to fùe a new Joint Plan with 60 days; and


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            Janet S. Baer, Esq.
            January 12, 2005
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            6. Failure of        the   Joint Plan to become effective on or before                       January 1, 2007.

            It is also understood that in the event that the Creditors' Committee withdraws as a Plan
            Proponent, the Debtors wil no longer be bound by the agreement previously reached
            with the Creditors' Commttee with respect to interest rates or any of the other
            provisions of the Joint Plan agreed to among the partes.

            If this letter accurately states the parties' agreement in th regard, please sign th letter
            on the signature block provided below and forward the letter back to me.

            Please inform us promptly if this letter does not accurately reflect the parties' agreement.

            Sincerely,


              La.s. lruir
            Lewis Kruger



            Agreed To:




                            ne S. Baer, Esq.
                       Kir and & Ells
                       Counsel to the Debtors
                       W.R. Grace & Co., et gl.




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